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BTXN 113 (rev. 3/18)
                                        UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS


In Re:                                                          §
Highland Capital Management, L.P.                               §
                                            Debtor(s)           §    Case No.: 19−34054−sgj11
James Dondero                                                   §
                                            Appellant(s)        §    Adversary No.:       20−03190−sgj
      vs.                                                       §
Highland Capital Management, L.P.                               §
                                            Appellee(s)         §
                                                                §
                                                                §
                                                                §
                                                                §
                                                                §


             NOTICE REGARDING THE RECORD FOR A BANKRUPTCY APPEAL
Federal Rule of Bankruptcy Procedure 8009 prescribes the deadlines for filing the designations of items to be
included in the record, requires copies to be submitted to the bankruptcy clerk to prepare the record, and directs all
parties to "take any other action necessary to enable the clerk to assemble and transmit the record." Fed.R.Bankr.P.
8009(g). The purpose of this notice is to provide guidance on the local application of this rule.

DESIGNATION OF THE RECORD

        • If you are the appellant, when designating items for inclusion in the record,



                 ♦ list the following items first, in this order: (1) the notice of appeal, (2) the judgment, order, or decree
                   appealed from, (3) any opinion, findings of fact, and conclusions of law of the bankruptcy court, and
                   (4) the docket sheet;

                 ♦ then list the other items to be included, leaving for the end of your list any sealed documents, any
                   exhibits, and any transcripts.

        • If you are the appellee, cross−appellant, or cross−appellee and are designating additional items,



                 ♦ list the following items first, in this order: (1) any notice of cross−appeal, (2) any judgment, order, or
                   decree appealed from that the appellant has not designated, and (3) any opinion, findings of fact, and
                   conclusions of law of the bankruptcy court that the appellant has not designated;

                 ♦ then list the other items to be included, leaving for the end of your list any sealed documents , any
                   exhibits, and any transcripts.


        • All parties designating items to be included in the record on appeal must



                 ♦ for each item, specify the document number shown on the docket sheet. If an item does not have a
                   document number, specify the date the item was filed.
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             ♦ If you have designated a transcript that has not been filed, order it immediately by contacting the
               presiding bankruptcy judge's courtroom deputy or following the instructions at
               http://www.txnb.uscourts.gov/transcript−and−tape−orders.



ASSEMBLY OF THE RECORD
Within 14 days of filing your designation of the record, pursuant to Rule 8009, submit to the bankruptcy clerk any
item that is not available in the ECF system, using this procedure:

      • Enclose sealed items and non−documentary items (e.g., removable media) in 8.5" x 11" envelopes.


      • Copy all other items in PDF files to a removable storage device (e.g., USB drives, DVDs, etc.), organized in
        the sequence in which they were designated. Limit files to 5.0 MB in size and do not include color.


      • Save copies of court exhibits in PDF files to a removable storage device, organized in the sequence in which
        they are designated. Limit files to 5.0 MB in size and do not include color. (Use a separate removable storage
        device for each hearing.)

      • Label any submission with the case caption and bankruptcy court case and/or adversary proceeding number.



TRANSMITTAL OF THE RECORD

      • The bankruptcy clerk will electronically transmit the record to the district clerk. The parties must provide a
        paper copy of the record, if required.



REQUIREMENTS REGARDING PAPER RECORD

      • If the district judge requires a paper copy, the district clerk will notify you that you are required to provide a
        copy of the items in your designation to the bankruptcy clerk, for quality review.

      • If you are notified to provide a paper copy, organize the record according to the volumes maintained in the
        district court's ECF system.


      • Even if a paper copy is not required when an appeal is entered on the docket, the district judge or the district
        clerk may later notify you that a paper copy is required for the use of the district judge or the court of appeals.



DATED: 7/8/21                                    FOR THE COURT:
                                                 Robert P. Colwell, Clerk of Court

                                                 by: /s/Sheniqua Whitaker, Deputy Clerk
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                                                              United States Bankruptcy Court
                                                                Northern District of Texas
Highland Capital Management, L.P.,
      Plaintiff                                                                                                        Adv. Proc. No. 20-03190-sgj
Dondero,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: sheniquaw                                                             Page 1 of 2
Date Rcvd: Jul 08, 2021                                               Form ID: BTXN113                                                           Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 10, 2021:
Recip ID                 Recipient Name and Address
ust                    + Cheryl Wilcoxson, US Trustee, 1100 Commerce St., Ste. 976, Dallas, TX 75242-0996

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.ty.ecf@usdoj.gov
                                                                                        Jul 08 2021 20:42:00      US Trustee, Office of the U.S. Trustee, 110 N.
                                                                                                                  College Ave., Suite 300, Tyler, TX 75702-7231
ust                    + Email/Text: ustpregion07.hu.ecf@usdoj.gov
                                                                                        Jul 08 2021 20:42:00      US Trustee, Office of the US Trustee, 515 Rusk
                                                                                                                  Ave, Ste 3516, Houston, TX 77002-2604
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Jul 08 2021 20:42:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            Sandra Nixon, U.S. Trustee
ust                            mario zavala
ust              *+            US Trustee, Office of the U.S. Trustee, 110 N. College Ave., Suite 300, Tyler, TX 75702-7231

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 10, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
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District/off: 0539-3                                              User: sheniquaw                                                         Page 2 of 2
Date Rcvd: Jul 08, 2021                                           Form ID: BTXN113                                                       Total Noticed: 4
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 8, 2021 at the address(es) listed below:
Name                             Email Address
Bryan C. Assink
                                 on behalf of Defendant James D. Dondero bryan.assink@bondsellis.com

John Y. Bonds, III
                                 on behalf of Defendant James D. Dondero john@bondsellis.com

Juliana Hoffman
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors jhoffman@sidley.com
                                 txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Matthew A. Clemente
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors mclemente@sidley.com
                                 matthew-clemente-8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwom
                                 ey@sidley.com

Melissa S. Hayward
                                 on behalf of Plaintiff Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Paige Holden Montgomery
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors pmontgomery@sidley.com
                                 txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;crognes@sidley.com;ebromagen@sidley.com;efilingnoti
                                 ce@sidley.com

Zachery Z. Annable
                                 on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 7
